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 6                          UNITED STATES DISTRICT COURT
 7                               DISTRICT OF NEVADA
                                        -oOo-
 8
      UNITED STATES OF AMERICA,                                2:13-cr-00250-JAD-VCF
 9
                               Plaintiff,                       STIPULATION TO CONTINUE
10                                                              RESPONSE TO DEFENDANT’S
                  vs.                                           MOTION IN LIMINE (Doc. #126)
11
      THOMAS McNAMARA,                                                     ORDER
12
                               Defendant.
13

14           IT IS HEREBY STIPULATED AND AGREED, by and between DANIEL G. BOGDEN,

15    United States Attorney, and Cristina D. Silva, Assistant United States Attorney, counsel for the

16    United States of America, and counsel for defendant THOMAS McNAMARA, Terrance Jackson,

17    Esq., that the Government’s response to defendant’s Motion in Limine (Doc. # 126), in the above-

18    captioned matter, which is currently set for March 20, 2015, be continued until April 2, 2015.

19           This Stipulation is entered into for the following reasons:

20           1.      Defendant Steve Carr filed a similar motion on March 16, 2015. See Doc. #139. The

21    current due date for the Government’s response to Carr’s motion is April 2, 2015. Id. Given the

22    similarities of the motion, for purposes of judicial efficiency, the Government contacted defendant

23    McNamara’s attorney, Terry Jackson, Esq., and requested that the Government be able to respond to

24    both motions together.


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 1               2.    The parties have discussed the continuance and agree to stipulate to an extension of

 2    the response deadline to April 2, 2015.

 3               3.    The defendant is not incarcerated, but does not object to the continuance.

 4               4.    Additionally, denial of this request for continuance could result in a miscarriage of

 5    justice.

 6               5.    The additional time requested herein is not sought for purposes of delay, but to allow

 7    for adequate and efficient response time to the accompanying supplemental filing (Doc. #53).

 8               6.    This is the first request for a continuance of deadline for the Government to respond

 9    to the Motion in Limine.

10

11               DATED this 19th day of March, 2015.

12
                                                                     DANIEL G. BOGDEN
13                                                                   United States Attorney

14                                                                          //s//

15                                                                   CRISTINA D. SILVA
                                                                     Assistant United States Attorney
16
                                                                            //s//
17
                                                                     TERRANCE JACKSON
18                                                                   Counsel for Defendant - McNamara

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 1                             UNITED STATES DISTRICT COURT
 2                                  DISTRICT OF NEVADA
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 3
      UNITED STATES OF AMERICA,                                    2:13-cr-00250-JAD-VCF
 4
                                Plaintiff,                             ORDER
 5
                      vs.
 6
      THOMAS McNAMARA,
 7                  Defendant.

 8
                                                FINDINGS OF FACT
 9
                 Based on the pending Stipulation of counsel, and good cause appearing therefore, the Court
10
      hereby finds that:
11
                 1.     Defendant Steve Carr filed a similar motion on March 16, 2015. See Doc. #139. The
12
      current due date for the Government’s response to Carr’s motion is April 2, 2015. Id. Given the
13
      similarities of the motion, for purposes of judicial efficiency, the Government contacted defendant
14
      McNamara’s attorney, Terry Jackson, Esq., and requested that the Government be able to respond to
15
      both motions together.
16
                 2.     The parties have discussed the continuance and agree to stipulate to an extension of
17
      the response deadline to April 2, 2015.
18
                 3.     The defendant is not incarcerated, but does not object to the continuance.
19
                 4.     Additionally, denial of this request for continuance could result in a miscarriage of
20
      justice.
21
                 5.     The additional time requested herein is not sought for purposes of delay, but to allow
22
      for adequate and efficient response time to the accompanying supplemental filing (Doc. #53).
23
                 6.     This is the first request for a continuance of deadline for the Government to respond
24


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     Case
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 1    to the Motion in Limine.

 2                                        CONCLUSIONS OF LAW

 3           Based on the fact that the parties have agreed to the continuance; based on the fact that the

 4    defendant does not object to the continuance; and based on the fact that denial of this request for

 5    continuance could result in a miscarriage of justice, the Court hereby concludes that:

 6           The ends of justice are served by granting said continuance, since the failure to grant said

 7    continuance would be likely to result in a miscarriage of justice and would deny adequate response

 8    to the pending motion to dismiss, taking into account the exercise of due diligence.

 9                                                   ORDER

10           IT IS THEREFORE ORDERED that the deadline for the Government to respond to

11    defendant’s Motion in Limine (Doc. #126) is hereby reset
                                                           set to March
                                                                  M rch 19, 2015.
                                                                  Ma

12           Dated: April 7, 2015.                           _____________________________________
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                                                                 __ ___________________
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                                                                 ____                ______
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                                                             HONORABLE
                                                             UNITED
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                                                                  E STATES
                                                                      ST TAT  TCAM    DFERENBACH
                                                                                ES DISTRICT
                                                                                      DI ST
                                                                                          TRIC JUDGE
13                                                           UNITED STATES MAGISTRATE JUDGE
                                                             nunc pro tunc to 3/19/15
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